United States District Court Eastern District of Pennsylvania                                 Page 1 of 7



                                                                                        CLOSED,A/R

                            United States District Court
                    Eastern District of Pennsylvania (Allentown)
                CRIMINAL DOCKET FOR CASE #: 5:13-cr-00602-LS-1


Case title: USA v. HAMDAN et al                                 Date Filed: 10/31/2013
                                                                Date Terminated: 09/22/2015


Assigned to: HONORABLE
LAWRENCE F. STENGEL

Defendant (1)
MOHAMMAD HAMDAN                                 represented by MARK T. WILSON
TERMINATED: 09/22/2015                                         DEFENDER ASSOCIATION OF
also known as                                                  PHILADELPHIA
ALEX HAMDAN                                                    SUITE 540 W, THE CURTIS CENTER
TERMINATED: 09/22/2015                                         601 WALNUT STREET
                                                               PHILADELPHIA, PA 19106
                                                               215-928-1100
                                                               Fax: 215-928-1112
                                                               Email: mark_wilson@fd.org
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED
                                                               Designation: Public Defender or
                                                               Community Defender Appointment

                                                                JONATHAN SUSSMAN
                                                                FEDERAL COMMUNITY PUBLIC
                                                                DEFENDER - ED-PA
                                                                601 WALNUT ST STE 540W
                                                                PHILADELPHIA, PA 19106
                                                                702-994-7350
                                                                TERMINATED: 01/28/2014
                                                                Designation: Public Defender or
                                                                Community Defender Appointment

Pending Counts                                                  Disposition
                                                                IMPRISONMENT: TIME SERVED,
18:1951 CONSPRIACY TO COMMIT
                                                                SUPERVISED RELEASE: 3 YEARS,
EXTORTION
                                                                SPECIAL ASSESSMENT: $200,
(1)
                                                                RESTITUTION: $7500
18:1951 EXTORTION; 18:2 AIDING                                  IMPRISONMENT: TIME SERVED,
AND ABETTING                                                    SUPERVISED RELEASE: 3 YEARS,
(2)

              Case 5:16-cr-00210-BO Document 1-3 Filed 09/06/16 Page 1 of 7
https://ecf.paed.uscourts.gov/cgi-bin/DktRpt.pl?234561525543056-L_1_0-1                         9/6/2016
United States District Court Eastern District of Pennsylvania                          Page 2 of 7



                                                                SPECIAL ASSESSMENT: $200,
                                                                RESTITUTION: $7500

Highest Offense Level (Opening)
Felony

Terminated Counts                                               Disposition
None

Highest Offense Level (Terminated)
None

Complaints                                                      Disposition
None



Plaintiff
USA                                             represented by LINWOOD C. WRIGHT , JR.
                                                               UNITED STATES ATTORNEY'S
                                                               OFFICE
                                                               615 CHESTNUT STREET
                                                               SUITE 1250
                                                               PHILADELPHIA, PA 19106
                                                               215-861-8512
                                                               Email: l.c.wright@usdoj.gov
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED


 Date Filed       #   Docket Text
 10/31/2013        1 SEALED INDICTMENT as to MOHAMMAD HAMDAN (1) count(s) 1, 2,
                     MOHAMMAD SABBAR (2) count(s) 1, 2. (tjsl, ) (Additional attachment(s)
                     added on 12/11/2013: # 1 Designation Form) (ap, ). (Entered: 11/01/2013)
 10/31/2013        2 MOTION AND ORDER TO SEAL INDICTMENT AS TO MOHAMMAD
                     HAMDAN, MOHAMMAD SABBAR.. Signed by MAGISTRATE JUDGE
                     ELIZABETH T. HEY on 10/31/13.11/1/13 Entered and Copies E-Mailed. (tjsl, )
                     (ap, ). (Entered: 11/01/2013)
 10/31/2013        3 MOTION AND ORDER FOR ISSUANCE OF BENCH WARRANT AS TO
                     MOHAMMAD HAMDAN. Signed by MAGISTRATE JUDGE ELIZABETH
                     T. HEY on 10/31/13.11/1/13 Entered and Copies E-Mailed. (tjsl, ) (ap, ).
                     (Entered: 11/01/2013)
 12/11/2013        5 Letter from AUSA Unsealing Indictment as to MOHAMMAD HAMDAN,
                     MOHAMMAD SABBAR (ap, ) (Entered: 12/11/2013)


              Case 5:16-cr-00210-BO Document 1-3 Filed 09/06/16 Page 2 of 7
https://ecf.paed.uscourts.gov/cgi-bin/DktRpt.pl?234561525543056-L_1_0-1                   9/6/2016
United States District Court Eastern District of Pennsylvania                               Page 3 of 7



 12/11/2013           ***INDICTMENT UNSEALED as to MOHAMMAD HAMDAN,
                      MOHAMMAD SABBAR (ap, ) (Entered: 12/11/2013)
 12/11/2013        6 Minute Entry for proceedings held before MAGISTRATE JUDGE HENRY S.
                     PERKIN: Initial Appearance/Appointment of Counsel as to MOHAMMAD
                     HAMDAN held on 12/11/2013. THe Government's motion for temporary
                     detention is granted. A detention hearing and Arraignment are set for
                     12/13/2013 at 01:30 PM. Court Reporter ESR.(ap, ) (Entered: 12/12/2013)
 12/12/2013        7 MOTION for PRETRIAL DETENTION by USA as to MOHAMMAD
                     HAMDAN. (cmc, ) Modified on 12/13/2013 (nd, ). (Entered: 12/13/2013)
 12/13/2013        8 Minute Entry for proceedings held before MAGISTRATE JUDGE HENRY S.
                     PERKIN: Arraignment/Pretrial Detention as to MOHAMMAD HAMDAN (1)
                     Count 1,2 held on 12/13/2013. After 30 minutes of argument on Pretrial
                     detention, defense requested a continued to 12/18/2013 at 01:30 PM to provide
                     more evidence. Judge Perkin granted that request and ordered defendant held in
                     the custody of the US Marshal until that time. Plea entered by MOHAMMAD
                     HAMDAN Not Guilty on all counts. Counsel have 14 days to file pretrial
                     motions. Court Reporter ESR.(ap, ) (Entered: 12/13/2013)
 12/20/2013      13 Minute Entry for proceedings held before MAGISTRATE JUDGE
                    ELIZABETH T. HEY: Pretrial Detention Hearing as to MOHAMMAD
                    HAMDAN held on 12/18/2013. The Government's Motion for pretrial detention
                    is denied. THe court finds that the attached conditions of release will reasonably
                    assure the defendant's appearance in court and the safety of the community.
                    Court Reporter ESR.(ap, ) (Entered: 12/23/2013)
 12/20/2013      14 ORDER SETTING CONDITIONS OF RELEASE AS TO MOHAMMAD
                    HAMDAN (1) THAT THE DEFENDANT IS RELEASED IN THE AMOUNT
                    OF $50,000 O/R WITH THE FOLLOWING CONDITIONS AS OUTLINED
                    HEREIN. Signed by MAGISTRATE JUDGE ELIZABETH T. HEY on
                    12/18/2013.12/23/2013 Entered and Copies E-Mailed. (ap, ) (Entered:
                    12/23/2013)
 12/20/2013      15 ORDER AS TO MOHAMMAD HAMDAN THAT THE RELEASE ORDER
                    OF 12/18 IS MODIFIED TO PERMIT THE DEFENDANT TO BE
                    RELEASED IN THIS DISTRICT WITH THE CONDITION THAT HE
                    TRAVEL DIRECTLY TO HIS HOME IN NORTH CAROLINA AND
                    PRESENT HIMSELF TO THE PRETRIAL SERVICES OFFICE IN THE
                    EASTERN DISTRICT NO LATER THAN 5 PM ON 12/23/2013. Signed by
                    MAGISTRATE JUDGE ELIZABETH T. HEY on 12/20/2013.12/23/2013
                    Entered and Copies E-Mailed. (ap, ) (Entered: 12/23/2013)
 12/20/2013           O/R Bond Entered as to MOHAMMAD HAMDAN in amount of $ 50,000,
                      (ap, ) (Entered: 12/23/2013)
 12/27/2013      17 NOTICE Regarding United States Passport for Criminal Defendant as to
                    MOHAMMAD HAMDAN (ke) (Entered: 12/27/2013)
 12/27/2013      18 NOTICE OF ATTORNEY APPEARANCE JONATHAN SUSSMAN
                    appearing for MOHAMMAD HAMDAN and Withdrawal of Appearance



              Case 5:16-cr-00210-BO Document 1-3 Filed 09/06/16 Page 3 of 7
https://ecf.paed.uscourts.gov/cgi-bin/DktRpt.pl?234561525543056-L_1_0-1                        9/6/2016
United States District Court Eastern District of Pennsylvania                           Page 4 of 7



                      (Felicia Sarner) with a Certificate of Service (SUSSMAN, JONATHAN)
                      (Entered: 12/27/2013)
 01/03/2014      19 MOTION for Extension of Time to File by MOHAMMAD SABBAR as to
                    MOHAMMAD SABBAR, CERTIFICATE OF SERVICE. (COOPER,
                    BENJAMIN) Modified on 1/6/2014 (ke, ). (Entered: 01/03/2014)
 01/07/2014      20 MOTION for Extension of Time to File Pretrial Motions (Unopposed), Order
                    with a Certificate of Service by MOHAMMAD HAMDAN. (SUSSMAN,
                    JONATHAN) (Entered: 01/07/2014)
 01/08/2014      21 MOTION to Modify Bail Conditions (Unopposed), Order with a Certificate of
                    Service by MOHAMMAD HAMDAN. (SUSSMAN, JONATHAN) (Entered:
                    01/08/2014)
 01/08/2014      22 ORDER as to MOHAMMAD HAMDAN (1) THAT THE 20 MOTION FOR
                    EXTENSION OF TIME TO FILE PRETRIAL MOTIONS IS GRANTED. THE
                    PRETRIAL MOTIONS IN THE ABOVE-CAPTIONED MATTER SHALL BE
                    FILED AT LEAST 30 DAYS BEFORE TRIAL; RESPONSES TO THE
                    MOTION ARE DUE TWO WEEKS THEREAFTER. Signed by HONORABLE
                    LAWRENCE F. STENGEL on 1/8/2014.1/8/2014 ENTERED AND COPIES
                    E-MAILED.(ap, ) (Entered: 01/08/2014)
 01/10/2014      23 ORDER as to MOHAMMAD HAMDAN (1) THAT THE DEFENDANT'S
                    BAIL CONDITIONS SHALL BE MODIFIED AS TO HIS CHANGE OF
                    RESIDENCE. IT IS FURTHER ORDERED THAT THE DEFENDANT
                    SHALL BE PERMITTED TO RESIDE AT 4226 MILL VILLAGE ROAD,
                    APARTMENT 4226, RALEIGH, NC 27612. ALL OTHER CONDITIONS
                    SHALL REMAIN IN EFFECT. Signed by HONORABLE LAWRENCE F.
                    STENGEL on 1/9/2014.1/10/2014 ENTERED AND COPIES E-MAILED.(ap, )
                    (Entered: 01/10/2014)
 01/23/2014      25 NOTICE OF HEARING as to MOHAMMAD HAMDAN, MOHAMMAD
                    SABBAR JURY TRIAL SET FOR TUESDAY, 2/18/2014 AT 9:30 AM IN
                    COURTROOM 3B, 3RD FLOOR BEFORE THE HONORABLE LAWRENCE
                    F. STENGEL. (llb) (Entered: 01/23/2014)
 01/28/2014      26 NOTICE OF ATTORNEY APPEARANCE MARK T. WILSON appearing for
                    MOHAMMAD HAMDAN and Withdrawal of Appearance (Jonathan Sussman)
                    with a Certificate of Service (WILSON, MARK) (Entered: 01/28/2014)
 02/10/2014      27 MOTION FOR CONTINUANCE of TRIAL PURSUANT TO 18 U.S.C. § 3161
                    (h)(7)(A) (Unopposed), proposed order and certificate of service, by USA as to
                    MOHAMMAD HAMDAN, MOHAMMAD SABBAR. (WRIGHT,
                    LINWOOD) (Entered: 02/10/2014)
 02/12/2014      28 ORDER as to MOHAMMAD HAMDAN (1), MOHAMMAD SABBAR (2)
                    THAT PURSUANT TO 18:3161(h)(8), THE 27 MOTION FOR
                    CONTINUANCE IS GRANTED. IT IS FURTHER ORDERED THAT TRIAL
                    SHALL COMMENCE ON 6/9/2014. Signed by HONORABLE LAWRENCE
                    F. STENGEL on 2/12/2014.2/12/2014 ENTERED AND COPIES E-MAILED.
                    (ap, ) (Entered: 02/12/2014)



              Case 5:16-cr-00210-BO Document 1-3 Filed 09/06/16 Page 4 of 7
https://ecf.paed.uscourts.gov/cgi-bin/DktRpt.pl?234561525543056-L_1_0-1                    9/6/2016
United States District Court Eastern District of Pennsylvania                              Page 5 of 7



 03/13/2014      29 Second MOTION to Modify Conditions of Release by MOHAMMAD
                    HAMDAN. (WILSON, MARK) (Entered: 03/13/2014)
 03/24/2014      30 RESPONSE in Opposition re 29 Second MOTION to Modify Conditions of
                    Release , proposed order and certificate of service, filed by USA (WRIGHT,
                    LINWOOD) (Entered: 03/24/2014)
 04/18/2014      34 NOTICE OF HEARING as to MOHAMMAD HAMDAN MOTION HEARING
                    SET FOR MONDAY, 4/28/2014 AT 11:00 AM IN COURTROOM 3B, 3RD
                    FLOOR BEFORE THE HONORABLE LAWRENCE F. STENGEL. (llb)
                    (Entered: 04/18/2014)
 04/25/2014      36 ARREST Warrant Returned Executed on 12/11/2013. in case as to
                    MOHAMMAD HAMDAN. (ap, ) (Entered: 04/25/2014)
 04/29/2014      38 RESCHEDULED NOTICE OF HEARING as to MOHAMMAD
                    HAMDANHearing on Motion to Modify Bail Conditions set for Monday,
                    5/5/2014 at 1:00 PM in COURTROOM 3B, 3rd floor before THE
                    HONORABLE LAWRENCE F. STENGEL. (llb) (Entered: 04/29/2014)
 04/29/2014      39 NOTICE OF HEARING as to MOHAMMAD HAMDAN, MOHAMMAD
                    SABBAR JURY TRIAL SET FOR MONDAY, 6/9/2014 AT 9:30 AM IN
                    COURTROOM 3B, 3RD FLOOR BEFORE THE HONORABLE LAWRENCE
                    F. STENGEL. (llb) (Entered: 04/29/2014)
 04/29/2014           ***Terminate Deadlines and Hearings as to MOHAMMAD HAMDAN: (ap, )
                      (Entered: 05/06/2014)
 05/06/2014      40 Minute Entry for proceedings held before HONORABLE LAWRENCE F.
                    STENGEL: Hearing on Modification of Conditions of Pretrial Release as to
                    MOHAMMAD HAMDAN held on 5/5/2014. Counsel addressed the Court.
                    Pretrial Services officer addressed the Court. Court granted the defendant's
                    motion to modify his conditions of supervised release with special conditions.
                    Court Reporter ESR.(ap, ) (Entered: 05/06/2014)
 05/06/2014      41 ORDER AS TO MOHAMMAD HAMDAN THAT THE DEFENDANT'S
                    CONDITIONS OF PRE-TRIAL RELEASE SHALL BE MODIFIED TO
                    INCLUDE THE FOLLOWING CONDITIONS AS OUTLINED HEREIN.
                    Signed by HONORABLE LAWRENCE F. STENGEL on 5/5/2014.5/6/2014
                    Entered and Copies E-Mailed. (ap, ) (Entered: 05/06/2014)
 07/30/2014      43 ORDER AS TO MOHAMMAD HAMDAN, MOHAMMAD SABBAR THAT
                    PURSUANT TO 18:3161(h)(8), TRIAL BE CONTINUED. TRIAL SHALL
                    COMMENCE ON MONDAY, NOVERMBER 12, 2014. Signed by
                    HONORABLE MICHAEL M. BAYLSON on 7/29/14.7/30/14 Entered and
                    Copies E-Mailed. (mac, ) (Entered: 07/30/2014)
 10/14/2014      45 NOTICE OF HEARING as to MOHAMMAD HAMDAN, MOHAMMAD
                    SABBAR JURY TRIAL SET FOR MONDAY, 11/10/2014 AT 9:30 AM IN
                    COURTROOM 3B, 3RD FLOOR BEFORE THE HONORABLE LAWRENCE
                    F. STENGEL. (llb) (Entered: 10/14/2014)
 11/05/2014      46 NOTICE OF HEARING as to MOHAMMAD HAMDAN Plea Agreement
                    Hearing set for Monday, 11/10/2014 at 10:00 AM in COURTROOM 3B, 3rd

              Case 5:16-cr-00210-BO Document 1-3 Filed 09/06/16 Page 5 of 7
https://ecf.paed.uscourts.gov/cgi-bin/DktRpt.pl?234561525543056-L_1_0-1                      9/6/2016
United States District Court Eastern District of Pennsylvania                           Page 6 of 7



                      floor before THE HONORABLE LAWRENCE F. STENGEL. (llb) (Entered:
                      11/05/2014)
 11/10/2014      50 Minute Entry for proceedings held before HONORABLE LAWRENCE F.
                    STENGEL: Change of Plea Hearing as to MOHAMMAD HAMDAN held on
                    11/10/2014. Defendant sworn. Rule 11 colloquy. Plea entered as to
                    MOHAMMAD HAMDAN (1) Guilty Count 1,2. Court accepts plea.
                    Presentence report ordered. Sentencing set for 2/9/2015. Conditions of bail
                    status modified.Court Reporter L BUENZLE.(ap, ) (Entered: 11/10/2014)
 11/13/2014      51 ORDER AS TO MOHAMMAD HAMDAN THAT THE CLERK OF THE US
                    DISTRICT COURT FOR THE ED OF PA OR THE CLERK OF THE USDC
                    FOR THE ED OF NC SHALL RETURN THE PASSPORT OF MOHAMMED
                    HAMDAN TO HIM. Signed by HONORABLE LAWRENCE F. STENGEL on
                    11/13/2014.11/14/2014 Entered and Copies E-Mailed. (ap, ) (Entered:
                    11/14/2014)
 11/19/2014      52 ORDER AS TO MOHAMMAD HAMDAN THAT THE RELEASE
                    CONDITIONS ORIGINALLY IMPOSED ON 12/18/2014 AND MODIFIED
                    ON 1/9/2014 AND ON 5/5/2014 ARE MODIFIED AGAIN, SO THAT THE
                    CONDITION THAT MR. HAMDAN SUBMIT TO ELECTRONIC
                    MONITORING IS REMOVED, AND THE TRAVEL RESTRICTIONS ARE
                    AMENDED TO PERMIT MR. HAMDAN TO TRAVEL OUT OF THE
                    UNITED STATES FOR THE SOLE PURPOSE OF VISITING HIS FAMILY
                    IN THE WEST BANK OF ISRAEL WITH PRIOR NOTIFICATIONS TO HIS
                    SUPERVISING PRETRIAL SERVICES OFFICE OF HIS ITINERARY. THE
                    RELEASE CONDITION THAT HE SURRENDER HIS PASSPORT WILL
                    ALSO BE WITHDRAWN AND BY SEPERATE ORDER HIS PASSPORT
                    SHALL BE RETURNED TO HIM. ALL OTHER PREVIOUSLY IMPOSED
                    CONDITIONS SHALL REMAIN IN FORCE. Signed by HONORABLE
                    LAWRENCE F. STENGEL on 11/17/2014.11/19/2014 Entered and Copies
                    E-Mailed. (ap, ) (Entered: 11/19/2014)
 02/02/2015      53 NOTICE OF HEARING as to MOHAMMAD HAMDAN Sentencing set for
                    Monday, 2/9/2015 at 10:00 AM in COURTROOM 3B, 3rd floor before THE
                    HONORABLE LAWRENCE F. STENGEL. (llb) (Entered: 02/02/2015)
 08/20/2015      62 NOTICE OF HEARING as to MOHAMMAD HAMDAN Sentencing set for
                    Wednesday, 9/9/2015 at 2:00 PM in COURTROOM 3B, 3rd floor before THE
                    HONORABLE LAWRENCE F. STENGEL. (llb) (Entered: 08/20/2015)
 09/02/2015      63 SENTENCING DOCUMENT, CERTIFICATE OF SERVICE, as to
                    MOHAMMAD HAMDAN (WRIGHT, LINWOOD) (Entered: 09/02/2015)
 09/08/2015      64 SENTENCING MEMORANDUM by MOHAMMAD HAMDAN (WILSON,
                    MARK) (Entered: 09/08/2015)
 09/09/2015      65 Minute Entry for proceedings held before HONORABLE LAWRENCE F.
                    STENGEL RE:Sentencing held on 9/9/2015 for MOHAMMAD HAMDAN,
                    Count(s) 1, 2, IMPRISONMENT: TIME SERVED, SUPERVISED RELEASE:
                    3 YEARS, SPECIAL ASSESSMENT: $200, RESTITUTION: $7300. THE
                    DEFT IS ADVISED OF HIS APPEAL RIGHTS.Court Reporter ESR.(kk, )


              Case 5:16-cr-00210-BO Document 1-3 Filed 09/06/16 Page 6 of 7
https://ecf.paed.uscourts.gov/cgi-bin/DktRpt.pl?234561525543056-L_1_0-1                   9/6/2016
United States District Court Eastern District of Pennsylvania                              Page 7 of 7



                      (kk, ). Modified on 9/23/2015 (kk, ). (Main Document 65 replaced on
                      9/23/2015) (kk, ). (Main Document 65 replaced on 9/23/2015) (kk, ). (Entered:
                      09/10/2015)
 09/22/2015      66 JUDGMENT AS TO MOHAMMAD HAMDAN (1), Count(s) 1, 2,
                    IMPRISONMENT: TIME SERVED, SUPERVISED RELEASE: 3 YEARS,
                    SPECIAL ASSESSMENT: $200, RESTITUTION: $7300. Signed by
                    HONORABLE LAWRENCE F. STENGEL on 9/21/2015.9/22/2015 Entered
                    and Copies Mailed and E-Mailed by Chambers. (kk, ) Modified on 9/23/2015
                    (ke, ). (Entered: 09/22/2015)
 09/01/2016      67 Probation Jurisdiction Transferred to EASTERN DISTRICT OF NORTH
                    CAROLINA as to MOHAMMAD HAMDAN Transmitted Transfer of
                    Jurisdiction form, with certified copies of indictment, judgment and docket
                    sheet. (kk, ) (Entered: 09/01/2016)
 09/06/2016           ***Transfer as to MOHAMMAD HAMDAN to the Eastern District of North
                      Carolina. (eibo, ) (Entered: 09/06/2016)



                                          PACER Service Center
                                            Transaction Receipt
                                             09/06/2016 15:13:55
                      PACER
                                     us3807:2653187:0 Client Code:
                      Login:
                                                      Search         5:13-cr-00602-
                      Description:   Docket Report
                                                      Criteria:      LS
                      Billable Pages: 5               Cost:          0.50




              Case 5:16-cr-00210-BO Document 1-3 Filed 09/06/16 Page 7 of 7
https://ecf.paed.uscourts.gov/cgi-bin/DktRpt.pl?234561525543056-L_1_0-1                      9/6/2016
